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            Counsel for Trustee Jeanne E. Huffman




                             UNITED STATES BANKRUPTCY COURT

                                  FOR THE DISTRICT OF OREGON

    In re                                                Case No. 21-61582-dwh7

    Kent Strickler
                                  Debtor,

    Jeanne E. Huffman, Trustee,                          Adv. No. [see below]

                                  Plaintiff,             COMPLAINT

            v.                                           (Breach of Promissory Note)

    The Now Corporation, a Nevada Corporation,
                                  Defendant.



            Plaintiff Jeanne E. Huffman, as the chapter 7 trustee (the “Trustee”) for the chapter 7
   bankruptcy estate of Kent Strickler (the “Debtor”), hereby alleges:
                                               Jurisdiction
                   1.      This Court has jurisdiction over this adversary proceeding pursuant to 28
   U.S.C. §§ 157 and 1334. Venue is proper pursuant to 28 U.S.C. § 1409.


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                   2.      This adversary proceeding is filed in the chapter 7 bankruptcy case of the
   Debtor pending in the United States Bankruptcy Court for the District of Oregon, Portland

   Division under case 21-61582-dwh7 (the “Case”).
                   3.      This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2) (A),
   (E), and (O).
                   4.      The Trustee consents to the Court’s entry of a final order and judgment to
   resolve this dispute.

                                               The Parties
                   5.      The Trustee is the chapter 7 bankruptcy trustee appointed by the Court to
   administer the Debtor’s bankruptcy estate (the “Estate”) for the benefit of Debtor’s creditors.
                   6.      Defendant The Now Corporation (“Defendant”) is a Nevada domestic
   corporation located in Carson City, NV. Defendant’s registered agent, Resident Agents of
   Nevada, Inc., is located at 711 S. Carson St. Ste. 4, Carson City, NV, 89701.

                                              Background
                   7.      The Debtor and Defendant, were parties to a Purchase and Sale
   Agreement (the “PSA”), dated November 18, 2010, pursuant to which the Debtor sold a 1983
   Tolly yacht (ID No. TLY430320583) (the “Yacht”), to Defendant. A copy of the Purchase and
   Sale Agreement is attached as Exhibit A hereto.

                   8.      In consideration for the sale, the Debtor received a convertible note (the
   “Note”) in the amount of $150,000.00 with interest thereon at 8% per annum. A copy of the
   Note is attached as Exhibit B hereto.
                   9.      Pursuant to the terms of the Note, the principal sum of $150,000 was due
   to be paid to the Debtor on November 18, 2020 (the “Maturity Date”).
                   10.     The Debtor had an option to convert the entire principal amount of the
   Note and accrued interest thereon into shares of Common Stock of Defendant; however, such
   option was not exercised.

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                  11.     Under the PSA, Defendant’s failure to perform or observe terms of the
   Note constitutes an Event of Default.

                  12.     Upon default, the Debtor has a right to consider the Note immediately due
   and payable, without presentment, demand, protest, or notice of any kind.
                  13.     Additionally, upon default interest on the Note increases to 9% per annum,
   retroactive to the date of the Note’s initial issuance.
                  14.     The Debtor also has a right to recover attorney fees.
                  15.     On November 18, 2019, the Debtor signed a Bill of Sale, releasing his right,
   title, and interest in the Yacht to Defendant. A copy of the Bill of Sale is attached as Exhibit C.
                  16.     Defendant, by its CEO Kenneth Williams, executed the Bill of Sale,
   acknowledging the Debtor’s release of his rights in the Yacht to Defendant.
                  17.     The Debtor did not receive any payment under the Note before, on, or
   after the Maturity Date.
                  18.     Despite further demand from the Trustee, Defendant has failed to make
   any payments due in connection with the Note.
                  19.     Defendant has failed to comply with the terms of the Note. Defendant
   agreed to pay all amounts owed under the Note but has failed to make payments as agreed,
   despite having accepted title and interest in the Bill of Sale.
                  20.     The Debtor is entitled to recover from Defendant $150,000, plus default
   interest thereon at an interest rate of 9% per annum beginning on the initial issuance date of the
   Note (November 18, 2019).
                  21.     In addition, the Debtor is entitled to recover its reasonable attorney fees
   and costs incurred in this action.
   //
   //
   //


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                  WHEREFORE, the Trustee requests judgment against Defendant as follows:
                  a.      Against Defendant in the principal amount of $150,000, which amount is
   immediately due and payable, plus default interest thereon at an interest rate of 9% per annum
   beginning on the initial issuance date of the Note;

                  b.      For Trustee’s reasonable attorney fees incurred herein;
                  c.      For Trustee’s costs and disbursements incurred herein; and
                  d.      For such other relief as the Court may deem just and equitable.
                  DATED this 1st day of July 2022.

                                                    LEONARD LAW GROUP LLC
                                                    By: /s/ Timothy A. Solomon
                                                    Timothy A. Solomon, OSB No. 072573
                                                       Direct: 971.634.0194
                                                       Email: tsolomon@llg-llc.com
                                                    Counsel for Jeanne E. Huffman, Ch. 7 Trustee




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     PURCHASE AND SALE AGREEMENT BETWEEN THE NOW CORPORATION AND
     KENT STRICKLER


     This PURCHASE AND SALE AGREEMENT, dated as of November 18th, 2019, (this “Agreement”), is
     entered into by Kent Strickler (“Kent”), an Oregon resident (the “Seller”) AND The Now Corporation, a
     Nevada Corporation, (“Purchaser”). Purchaser and the Seller are each referred to herein as a “Party”
     and collectively, as the “Parties.”

     BACKGROUND

     Seller is the owner of a yacht with an identification number as TLY430320583 which is a 1983 Tolly.



     NOW, THEREFORE, in consideration of the foregoing and the mutual promises and covenants herein
     contained, the Parties agree as follows:


         1. Purchase and Sale. Seller shall sell, transfer, convey, and deliver title unto Purchaser the
            aforementioned yacht. The purchase price (the “Purchase Price”) for this ownership is:

     A convertible note in the amount of $150,000 issued to Seller (as shown in the Appendix, also referred
     to herein as the “Note”, issued by The Now Corporation. Said appendix is attached hereto as Exhibit “1”
     and hereby incorporated as though fully set forth herein). It shall carry interest at 8% per annum and be
     convertible into common shares of The Now Corporation at a price per share equal to a 50% discount to
     market and have a maturity of one year. Said Notes are subject to investment representations of the
     purchaser and may be transferred or exchanged only in compliance with the Securities Act of 1933, as
     amended (the Act), and other applicable state and foreign securities laws.

     2. The Closing

     The closing of the transactions contemplated by this Agreement (the “Closing”) shall take place as
     follows:
     i. Both Parties execute the Agreement including the Appendix.

     ii. Seller shall deliver to Purchaser documents indicating that the ownership of the yacht has been
     transferred to Purchaser.

     iii. If Purchaser does not approve of Seller’s Closing Deliverables, Purchaser shall so notify Seller.



     3. General Representations and Warranties of Seller. Seller represents and warrants to Purchaser that
     the statements contained in this Section 3 are correct and complete as of the Closing.


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     (a) Seller has full power and authority to execute, deliver and perform such Seller’s obligations under
     this Agreement and to sell, assign, transfer and deliver to Purchaser the Seller’s ownership as
     contemplated hereby. No permit, consent, approval or authorization of, or declaration, filing or
     registration with any governmental or regulatory authority or consent of any third party is required in
     connection with the execution and delivery by Seller of this Agreement and the consummation of the
     transactions contemplated hereby.

     (b) Neither the execution and delivery of this Agreement, nor the consummation of the transactions
     contemplated hereby or compliance with the terms and conditions hereof by Seller will violate or result
     in a breach of any term or provision of any agreement to which Seller is bound or is a party, or be in
     conflict with or constitute a default (or an event which, with notice or lapse of time or both, would
     constitute a default) under, or cause the acceleration of the maturity of any obligation of Seller under
     any existing agreement or violate any order, writ, injunction, decree, statute, rule or regulation
     applicable to Seller or any properties or assets of Seller.

     (c) This Agreement has been duly and validly executed by Seller, and constitutes the valid and binding
     obligation of Seller, enforceable against Seller in accordance with its terms, except as enforceability may
     be limited by default by Purchaser, bankruptcy, insolvency or other laws affecting creditors' rights
     generally or by general limitations on the availability of equitable remedies.

     (d) The Seller’s yacht is owned beneficially by Seller, fully paid for with no personal liability attached to
     the ownership thereof. Seller owns the yacht free and clear of all liens, charges, security interests,
     encumbrances, claims of others, options, warrants, purchase rights, contracts, commitments, equities or
     other claims or demands of any kind (collectively, “Liens”), and upon delivery of the Seller’s ownership
     to Purchaser, Purchaser will acquire good, valid and marketable title thereto free and clear of all liens.
     Seller is not a party to any option, warrant, purchase right, or other contract or commitment that could
     require Seller to sell, transfer, or otherwise dispose of any of its interest (other than pursuant to this
     Agreement or the Separate Agreements).



     4. Special Representations and Warranties of Seller. Seller, in his capacity and due to his unique
     knowledge of the yacht obtained in this capacity, represents and warrants to Purchaser that the
     statements contained in this Section 4 are correct and complete as of the Closing.



     (a) The Seller is an Oregon resident and is in good standing under the laws of that jurisdiction. The
     Seller is duly authorized to conduct business and is in good standing under the laws of each jurisdiction
     where such authorization is required. The Seller has full power and authority and all licenses, permits,
     and authorizations necessary to carry on his business. He has no subsidiaries and does not control any
     other subsidiaries, directly or indirectly, or have any direct or indirect equity ownership or participation
     in any other entity.



     (b) Neither the execution and delivery of this Agreement, nor the consummation of the transactions
     contemplated hereby or compliance with the terms and conditions hereof will

     (i) Violate or result in a breach of any term or provision of any agreement to which the Seller is bound or
     is a party,
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     (ii) Be in conflict with or constitute a default under, or cause the acceleration of the maturity of any
     obligation of the Seller under any existing agreement or instrument or violate any order, writ, injunction,
     decree, statute, rule or regulation applicable to the Seller or any of its properties or assets, except for
     such violations which do not have, in the aggregate, any material adverse effect, or

     (c) No claim or proceeding, which is pending or, to Seller’s knowledge, threatened against him.

     (d) The Seller has properly and timely filed all required federal, state, local and foreign tax returns and
     has paid all taxes, assessments and penalties due and payable. All such tax returns were complete and
     correct in all respects as filed, and no claims have been assessed with respect to such returns. There are
     no present, pending, or threatened audit, investigations, assessments or disputes as to taxes of any
     nature payable by the Seller, nor any tax liens (existing or inchoate) on any of the assets of the Seller,
     except for current year taxes not presently due and payable. No federal, foreign, state or local tax audit
     is currently in progress.

     The Seller has not waived the expiration of the statute of limitations with respect to any taxes.

     There are no outstanding requests by the Seller for any extension of time within which to file any tax
     return or to pay taxes shown to be due on any tax return.

     (e) The Seller has complied in all material respects with all applicable laws (including rules, regulations,
     codes, plans, injunctions, judgments, orders, decrees, rulings, and charges thereunder) of all
     governmental authorities, and no action, suit, proceeding, hearing, investigation, charge, complaint,
     claim, demand, or notice has been filed or commenced against the Seller alleging any failure so to
     comply. Neither the Seller, nor any officer, director, employee, consultant or agents of the Seller have
     made, directly or indirectly, any payment or promise to pay, or gift or promise to give or authorized such
     a promise or gift, of any money or anything of value, directly or indirectly, to any governmental official,
     customer or supplier for the purpose of influencing any official act or decision of such official, customer
     or supplier or inducing him, her or it to use his, her or its influence to affect any act or decision of a
     governmental authority or customer, under circumstances which could subject the Seller or any officers,
     directors, employees or consultants of the Seller to administrative or criminal penalties or sanctions.

     (f) No representation or warranty by Seller in this Agreement, or in any certificate, schedule or exhibit
     delivered or to be delivered pursuant to this Agreement, contains or will contain any untrue statement
     of a material fact, or omits or will omit to state a material fact necessary to make the statements made
     herein or therein, in light of the circumstances under which they were made, not misleading.

     (g) The Seller has procured all governmental and third party consents and clearances required in order
     to affect the Closing.

     (h) No action, suit or proceeding is pending or threatened before any court or quasijudicial or
     administrative agency of any federal, state, local or foreign jurisdiction or before any arbitrator wherein
     an unfavorable injunction, judgment, order, decree, ruling, or charge would

     (i) Prevent or delay consummation of any of the transactions contemplated by this Agreement,

     (ii) Cause any of the transactions contemplated by this Agreement to be rescinded following
     consummation,

     (iii) Affect adversely the right of Purchaser to own the Seller’s yacht, or


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     (iv) Affect adversely the right of the Seller to own its assets and to operate its businesses (and no such
     injunction, judgment, order, decree, ruling or charge shall be in effect).

     (i) Since inception, there has not been any event or condition of any character which has adversely
     affected, or may be expected to adversely affect, the Seller’s yacht, including any adverse change in the
     condition, assets, liabilities (existing or contingent) or business of the Seller except for the changes
     contemplated by this Agreement.

     5. Representations and Warranties of Purchaser. Purchaser represents and warrants to Seller that the
     statements contained in this Section 5 are correct and complete as of the Closing.

     (a) Purchaser has full power and authority to enter into this Agreement and to carry out the transactions
     contemplated hereby. This Agreement constitutes a valid and binding obligation of Purchaser
     enforceable in accordance with its terms, except as enforceability may be limited by bankruptcy,
     insolvency or other laws affecting creditors’ rights generally or by general limitations on the availability
     of equitable remedies.

     (b) Neither the execution and delivery of this Agreement nor the consummation of the transactions
     contemplated hereby, nor compliance by Purchaser with any of the provisions hereof will: violate, or
     conflict with, or result in a breach of any provision of, or constitute a default (or an event which, with
     notice or lapse of time or both, would constitute a default) under, or accelerate the performance
     required under, any existing agreement or other instrument or obligation to which Purchaser is a party
     or by which Purchaser or any of its properties or assets may be bound or affected, except for such
     violations, conflicts, breaches or defaults as do not have, in the aggregate, any material adverse effect;
     or violate any material order, writ, injunction, decree, statute, rule or regulation applicable to Purchaser
     or any of its properties or assets, except for such violations which do not have, in the aggregate, any
     material adverse effect.

     (c) No permit, consent, approval or authorization of, or declaration, filing or registration with any
     governmental or regulatory authority or the consent of any third party (collectively, “Purchaser
     Clearances”) is required in connection with the execution and delivery by Purchaser of this Agreement
     and the consummation of the transactions contemplated hereby, other than Purchaser Clearances that
     are already in effect.

     (d) Purchaser is acquiring the Seller’s yacht for import/export of CBD final products, including seeds for
     agricultural needs, in addition to construction-related hardware destined for Puerto Rico, and the
     Bahamas via Florida ports. The vessel will also be used for executive and customer meetings. Purchaser
     has knowledge and experience in financial and business matters such that Purchaser is capable of
     evaluating the merits and risks of acquiring the Seller’s yacht.

     6. No Brokers or Finders. There are no finders and no Parties shall be responsible for the payment of
     any finders’ or brokers’ fees or similar fees as a result of the transactions contemplated herein. Each
     Party represents and warrants that it has not, and Seller represents and warrants that the Seller has not,
     incurred any obligation or liability, contingent or otherwise, for brokers’ or finders’ fees, agents’
     commissions, financial advisory fees or similar payment in connection with this Agreement.

     7. Post-Closing Covenants. The Parties agree as follows with respect to the period following the Closing.
     (a) General. In case at any time after the Closing any further action is necessary or desirable to carry out
     the purposes of this Agreement, each of the Parties will take such further action (including the execution
     and delivery of such further instruments and documents) as any other Party may reasonably request, all
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     at the sole cost and expense of the requesting Party (unless and to the extent that the requesting Party
     is entitled to indemnification therefor under Section 9).

     (b) Litigation Support. In the event and for so long as any Party actively is contesting or defending
     against any action, suit, proceeding, hearing, investigation, charge, complaint, claim, or demand in
     connection with

     (i) Any transaction contemplated under this Agreement or (ii) any fact, situation, circumstance, status,
     condition, activity, practice, plan, occurrence, event, incident, action, failure to act, or transaction on or
     prior to the Closing involving the Parties, the other Parties will cooperate with him or it and his or its
     counsel in the contest or defense, make available their personnel, and provide such testimony and
     access to their books and records as shall be necessary in connection with the contest or defense, all at
     the sole cost and expense of the contesting or defending Party (unless and to the extent that the
     contesting or defending Party is entitled to indemnification therefor under Section 9).

     8. Remedies for Breaches of This Agreement.

     (a) Survival of Representations and Warranties. All of the representations and warranties of the Parties
     shall survive the Closing (even if a Party knew or had reason to know of any misrepresentation or breach
     of a representation or warranty by another Party at the time of Closing) and continue in full force and
     effect until expiration of the applicable statute of limitations.

     (b) Indemnification Provisions for Benefit of Purchaser.

     (i) In the event Seller breaches any of Seller’s representations, warranties or covenants contained
     herein, Seller shall indemnify Purchaser and hold them harmless from and against the entirety of any
     Adverse Consequences (as defined below) Purchaser may suffer resulting from, arising out of, relating
     to, in the nature of, or caused by the breach (or the alleged breach). For purposes of this Agreement,
     “Adverse Consequences” means all actions, suits, proceedings, hearings, investigations, charges,
     complaints, claims, demands, injunctions, judgments, orders, decrees, rulings, damages, dues, penalties,
     fines, costs, amounts paid in settlement, liabilities, obligations, taxes, Liens, losses, lost value, expenses,
     and fees, including court costs and attorneys' fees and expenses.

     (ii) Seller shall indemnify Purchaser and hold them harmless from and against the entirety of any
     Adverse Consequences Purchaser may suffer resulting from, arising out of, relating to, in the nature of,
     or caused by any liability of the Seller (whether or not accrued or otherwise disclosed) for any taxes of
     the Seller with respect to any tax year or portion thereof ending on or before the Closing (or for any tax
     year beginning before and ending after the Closing to the extent allocable to the portion of such period
     beginning before and ending on the Closing) and for the unpaid taxes of any person (other than the
     Company) under Section 1.1502-6 of the Treasury Regulations adopted under the Internal Revenue
     Code (or any similar provision of state, local, or foreign law), as a transferee or successor, by contract, or
     otherwise.

     (iii) Seller shall indemnify Purchaser and hold them harmless from and against the entirety of any
     liabilities arising out of the ownership of the Seller’s land prior to the Closing.

     (iv) Seller shall indemnify Purchaser and hold them harmless from and against the entirety of any
     Adverse Consequences Purchaser may suffer resulting from, arising out of, relating to, in the nature of,
     or caused by any indebtedness or other liabilities of the Seller existing as of the Closing.

     (c) Indemnification Provisions for Benefit of Seller.
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     (i) In the event Purchaser breaches (or any third party alleges facts that, if true, would mean Purchaser
     has breached) any of Purchaser’s representations, warranties or covenants contained herein, then
     Purchaser shall indemnify Seller and hold them harmless from and against the entirety of any Adverse
     Consequences Seller may suffer arising out of, relating to, in the nature of, or caused by such breach (or
     such alleged breach). “Adverse Consequences” shall have the same definition as stated in Section
     8.(b)(i).

     (d) Matters Involving Third Parties.
     (i) If any third party shall notify any Party (such notified Party, the “Indemnified Party”) with respect to
     any matter (a “Third Party Claim”) which may give rise to a claim for indemnification against any other
     Party (the “Indemnifying Party”) under this Section 9, then the Indemnified Party shall promptly notify
     each Indemnifying Party thereof in writing; provided, however, that no delay on the part of the
     Indemnified Party in notifying any Indemnifying Party shall relieve the Indemnifying Party from any
     obligation hereunder unless (and then solely to the extent) the Indemnifying Party thereby is prejudiced.

     (ii) Any Indemnifying Party will have the right to defend the Indemnified Party against the Third Party
     Claim with counsel of its choice reasonably satisfactory to the Indemnified Party so long as

     (A) the Indemnifying Party notifies the Indemnified Party in writing within ten days after the Indemnified
     Party has given notice of the Third Party Claim that the Indemnifying Party will indemnify the
     Indemnified Party from and against the entirety of any Adverse Consequences the Indemnified Party
     may suffer resulting from, arising out of, relating to, in the nature of, or caused by the Third Party Claim,

     (B) The Indemnifying Party provides the Indemnified Party with evidence reasonably acceptable to the
     Indemnified Party that the Indemnifying Party will have the financial resources to defend against the
     Third Party Claim and fulfill its indemnification obligations hereunder,

     (C) The Third Party Claim involves only money damages and does not seek an injunction or other
     equitable relief,

     (D) settlement of, or an adverse judgment with respect to, the Third Party Claim is not, in the good faith
     judgment of the Indemnified Party, likely to establish a precedential custom or practice adverse to the
     continuing business interests of the Indemnified Party, and
     (E) The Indemnifying Party conducts the defense of the Third Party Claim actively and diligently.

     (iii) So long as the Indemnifying Party is conducting the defense of the Third Party Claim in accordance
     with Section 8(d)(ii),

     (A) The Indemnified Party may retain separate co-counsel at its sole cost and expense and participate in
     the defense of the Third Party Claim,

     (B) the Indemnified Party will not consent to the entry of any judgment or enter into any settlement
     with respect to the Third Party Claim without the prior written consent of the Indemnifying Party (not to
     be withheld unreasonably), and

     (C) The Indemnifying Party will not consent to the entry of any judgment or enter into any settlement
     with respect to the Third Party Claim without the prior written consent of the Indemnified Party (not to
     be withheld unreasonably).

     (iv) In the event any of the conditions in Section 8(d)(ii) is or becomes unsatisfied, however,
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     (A) The Indemnified Party may defend against, and consent to the entry of any judgment or enter into
     any settlement with respect to, the Third Party Claim in any manner it reasonably may deem
     appropriate (and the Indemnified Party need not consult with, or obtain any consent from, any
     Indemnifying Party in connection therewith),

     (B) The Indemnifying Party will reimburse the Indemnified Party promptly and periodically for the costs
     of defending against the Third Party Claim (including attorneys' fees and expenses), and

     (C) The Indemnifying Party will remain responsible for any Adverse Consequences the Indemnified Party
     may suffer resulting from, arising out of, relating to, in the nature of, or caused by the Third Party Claim
     to the fullest extent provided in this Section 9.

     9. Miscellaneous.

     (a) Fax or Email Execution and Delivery. Execution and delivery of this Agreement by facsimile
     transmission or PDF electronic mail transmission are legal, valid and binding execution and delivery for
     all purposes;

     (b) Confidentiality; Public Announcements. Except as and to the extent required by law, no Party will
     disclose or use, and each Party will direct its representatives not to disclose or use, any information with
     respect to the transactions which are the subject of this Agreement, without the consent of the other
     Parties; provided, however, that the foregoing shall not restrict the Company from making any public
     disclosure it believes in good faith and is required by applicable law, any listing or trading agreement, or
     FINRA or OTC Markets Group’s rules.

     (c) Third-Party Beneficiaries. Each respective party is an intended third-party beneficiary of the other
     party’s representations, warranties and obligations under this Agreement. Except as stated in the
     preceding sentence, this Agreement shall not confer any rights or remedies upon any person other than
     the Parties and their respective successors and permitted assigns.

     (d) Entire Agreement. This Agreement (including the documents referred to herein, except the Separate
     Agreements) constitutes the entire agreement among the Parties with respect to the subject matter
     hereof and supersedes and cancels any prior understandings, agreements, or representations by or
     among the Parties, written or oral, to the extent they related in any way to the subject matter hereof.

     (e) Succession and Assignment. This Agreement shall be binding upon and inure to the benefit of the
     Parties and their respective successors and permitted assigns. No Party may assign this Agreement or
     any of such Party’s rights, assets, interests or obligations hereunder without the prior written approval
     of the other Parties. Said written approval shall not be unreasonably withheld. However, the Purchaser
     may (i) assign any or all of Purchaser’s assets hereunder to one or more of Purchaser’s designees,
     and/or (ii) designate one or more of Purchaser’s designees to perform Purchaser’s obligations
     hereunder, but no such assignment shall operate to release Purchaser or a successor from any
     obligation hereunder, unless and only to the extent that Seller agrees in writing.

     (f) Counterparts. This Agreement may be executed in counterparts, each of which shall be deemed an
     original but all of which together will constitute one and the same instrument.

     (g) Headings. The Section headings in this Agreement are for convenience only and shall not affect in any
     way the meaning or interpretation of this Agreement.

     (h) Notices. All notices, requests, demands, claims, and other communications hereunder (any of the
     foregoing, a “Notice”) must be in writing. Any Notice shall be deemed duly given if (and then three
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     business days after) it is sent by registered or certified mail, return receipt requested, postage prepaid,
     and addressed to the intended recipient as set forth below:




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     If to Seller:

     Kent Strickler

     P.O. Box 470
     Siletz, Oregon

     97380




     If to Purchaser:

     P.O. Box 2461


     Palm Beach, Florida

     33480

     The Now Corporation

     C/O Ken Williams, CEO

     Any Party may send any Notice to the intended recipient at the address set forth above using any other
     means (including personal delivery, courier, messenger, fax, ordinary mail, or electronic mail), but no
     such Notice shall be deemed to have been duly given unless and until it actually is received by the
     intended recipient. Any Party may change the address to which Notices are to be delivered to such Party
     by giving the other Parties notification of such change in the manner herein set forth.

     (i) Governing Law. This Agreement shall be governed by, and construed in accordance with, the internal
     laws of the State of Nevada without giving effect to any choice or conflict of law provision that would
     cause the application of the laws of any jurisdiction other than the State of Nevada.

     (j) Amendments and Waivers. No amendment of any provision of this Agreement shall be valid unless it
     is in writing and signed by Purchaser and Seller. No waiver by any Party of any default,
     misrepresentation, or breach of a representation, warranty or covenant hereunder, intentional or not,
     shall be deemed to extend to any prior or subsequent default, misrepresentation, or breach hereunder
     or affect in any way any rights arising by virtue of any such prior or subsequent occurrence.

     (k)) Severability. Any term or provision of this Agreement that is invalid or unenforceable in any
     situation in any jurisdiction shall not affect the validity or enforceability of the remaining terms and
     provisions hereof or the validity or enforceability of the offending term or provision in any other
     situation or in any other jurisdiction.
                                                                                                   EXHIBIT A
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     (l) Expenses. Each Party will bear such Party’s own costs and expenses (including legal fees and
     expenses) incurred in connection with this Agreement and the transactions contemplated hereby. Seller
     agrees that the Purchaser has not borne and will not bear any of Seller’s costs and expenses (including
     any of Seller’s legal fees and expenses) in connection with this Agreement or any of the transactions
     contemplated hereby.

     (m) Construction. The Parties have participated jointly in the negotiation and drafting of this
     Agreement. In the event an ambiguity or question of intent or interpretation arises, this Agreement shall
     be construed as if drafted jointly by the Parties and no presumption or burden of proof shall arise
     favoring or disfavoring any Party by virtue of the authorship of any of the provisions of this Agreement.
     Any reference to any federal, state, local or foreign statute or law shall be deemed also to refer to all
     rules and regulations promulgated thereunder, unless the context requires otherwise. The word
     “including” shall mean including without limitation. The Parties intend that each representation,
     warranty, and covenant contained herein shall have independent significance. If any Party has breached
     any representation, warranty, or covenant contained herein in any respect, the fact that there exists
     another representation, warranty, or covenant relating to the same subject matter (regardless of the
     relative levels of specificity) which the Party has not breached shall not detract from or mitigate the fact
     that the Party is in breach of the first representation, warranty, or covenant. Nothing in any disclosure
     schedules attached hereto shall be deemed adequate to disclose an exception to a representation or
     warranty made herein, however, unless such schedule identifies the exception with particularity and
     describes the relevant facts in detail. Without limiting the generality of the foregoing, the mere listing
     (or inclusion of a copy) of a document or other item in a disclosure schedule (if any), shall not be
     deemed adequate to disclose an exception to a representation or warranty made herein (unless the
     representation or warranty has to do with the existence of the document or other item itself).

     (n) Incorporation of Schedules and Exhibits. Schedule A and any other schedules and exhibits identified
     in this Agreement are incorporated herein by reference and made a part hereof.

     (o) Specific Performance. Each of the Parties acknowledges and agrees that the other Parties would be
     damaged irreparably in the event any of the provisions of this Agreement are not performed in
     accordance with their specific terms or otherwise are breached. Accordingly, each Party shall be entitled
     to injunctive relief to prevent breaches of this Agreement and to enforce specifically this Agreement and
     the terms and provisions hereof in any action instituted in any court of the United States or any state
     thereof having jurisdiction over the Parties and the matter (subject to the provisions of Section 10(p)),
     without the need to prove irreparable harm or inadequacy of money damages and without the need to
     post a bond, in addition to any other remedy to which such Party may be entitled, at law or in equity.

     (p) Submission to Jurisdiction. Each of the Parties submits to the jurisdiction of any state or federal court
     in Nevada, in any action or proceeding arising out of or relating to this Agreement and agrees that all
     claims in respect of the action or proceeding may be heard and determined in any such court. Each of
     the Parties waives any defense of inconvenient forum to the maintenance of any action or proceeding
     so brought and waives any bond, surety, or other security that might be required of any other Party with
     respect thereto.




kw
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[signature pages follow]




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[Purchaser’s Signature Page]




IN WITNESS WHEREOF, the undersigned Purchaser has duly executed this

Agreement as of the date first above written.




The Now Corporation



X



By: Ken Williams

CEO




                                                                             EXHIBIT A
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   EXHIBIT 1: Appendix

   CONVERTIBLE NOTE

   NEITHER THESE SECURITIES NOR THE SECURITIES
   ISSUABLE UPON CONVERSION HEREOF HAVE BEEN
   REGISTERED WITH THE UNITED STATES SECURITIES
   AND EXCHANGE COMMISSION OR THE SECURITIES
   COMMISSION OF ANY STATE OR UNDER THE
   SECURITIES ACT OF 1933, AS AMENDED (THE “ACT”).
   THE SECURITIES ARE RESTRICTED AND MAY NOT BE
   OFFERED, RESOLD, PLEDGED OR TRANSFERRED
   EXCEPT AS PERMITTED UNDER THE ACT PURSUANT
   TO AN EFFECTIVE REGISTRATION STATEMENT OR AN
   EXEMPTION FROM SUCH REGISTRATION
   REQUIREMENTS.
   THE NOW CORPORATION

   8% CONVERTIBLE PROMISSORY NOTE

   THIS CONVERTIBLE PROMISSORY NOTE is issued by The
   Now Corporation, a corporation organized and existing under
   the laws of the State of Nevada (the “Company”), and is
   designated as its 8% Convertible Note Due November 18th,
   2020

   FOR VALUE RECEIVED, the Company hereby promises to
   pay to Kent Strickler, or permitted assignees (the “Holder”), the
   principal sum of one hundred and fifty thousand dollars (US
   $150,000.00) on November 18th, 2020(the “Maturity Date”),
   and to pay interest on the principal sum outstanding in arrears on
   the Maturity Date at the rate of 8% per annum, simple interest,
                                                               EXHIBIT A
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  accruing from the date of initial issuance. Accrual of interest
  shall commence on the first business day to occur after the date
  of initial issuance and continue until payment in full of the
  principal sum has been made or duly provided for. All principal
  and accrued but unpaid interest shall be due and payable on the
  Maturity Date. If any interest payment date or the Maturity Date
  is not a business day in the State of New York, then such
  payment shall be made on the next succeeding business day. The
  Company will pay the principal of, and any accrued but unpaid
  interest due upon, this Note on the Maturity Date, by check or
  wire transfer to the person who is the registered holder of this
  Note as of the tenth day prior to the Maturity Date and addressed
  to such holder at the last address appearing on the Note Register.
  The forwarding of such check or money order shall constitute a
  payment of principal and interest hereunder and shall satisfy and
  discharge the liability for principal and interest on this Note to
  the extent of the sum represented by such check or wire transfer
  plus any amounts so deducted. In the event that the Holder
  converts the entire principal amount of the Note into shares of
  the Company’s common stock, all accrued and unpaid interest
  shall also be converted into shares of the Company’s common
  stock (“Common Stock”) at the then applicable Conversion
  Price as described below.
  This Note is subject to the following additional provisions:

  1. This Note has been issued subject to investment
  representations of the Company and may be transferred or
  exchanged only in compliance with the Securities Act of 1933,
  as amended (the “Act”), and other applicable state and foreign
  securities laws. The Holder shall deliver written notice to the
  Company of any proposed transfer of this Note. In the event of
                                                               EXHIBIT A
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     any proposed transfer of this Note, the Company may require,
     prior to issuance of a new Note in the name of such other
     person, that it receive reasonable transfer documentation
     including legal opinions that the issuance of the Note in such
     other name does not and will not cause a violation of the Act or
     any applicable state or foreign securities laws. Prior to due
     presentment for transfer of this Note, the Company and any
     agent of the Company may treat the person in whose name this
     Note is duly registered on the Company’ Note Register as the
     owner hereof for the purpose of receiving payment as herein
     provided and for all other purposes, whether or not this Note be
     overdue, and neither the Company nor any such agent shall be
     affected by notice to the contrary.
     2. The Holder of this Note is entitled, at its option, to convert at
     any time commencing on the Maturity Date hereof the entire
     principal amount of this Note and all accrued interest thereon
     into shares of Common Stock of the Company (“Conversion
     Shares”) at a conversion price for each share of Common Stock
     (“Conversion Price”) at a price per share equal to 50% of the
     lowest posted ask price of NWPN common shares in the
     preceding 3 trading days. The Holder can only convert the Note
     so that the amount of the Holder’s beneficial ownership never
     exceeds 9.9% of the total issued and outstanding common
     shares.

     3. Conversion shall be effectuated by surrendering this Note to
     the Company (if such Conversion will convert all outstanding
     principal) together with the form of conversion notice attached
     hereto as Exhibit A (the “Notice of Conversion”), executed by
     the Holder of this Note evidencing such Holder's intention to
     convert this Note or a specified portion (as above provided)
                                                                 EXHIBIT A
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 hereof, and accompanied, if required by the Company, by proper
 assignment hereof in blank. Interest accrued or accruing from
 the date of issuance to the date of conversion shall be paid as set
 forth above. No fraction of a share or scrip representing a
 fraction of a share will be issued on conversion, but the number
 of shares issuable shall be rounded to the nearest whole share.
 The date on which Notice of Conversion is given (the
 “Conversion Date”) shall be deemed to be the date on which the
 Holder submits to the Company, via commercially acceptable
 means, a Notice of Conversion of form attached hereto as
 Exhibit A. Delivery of shares upon conversion shall be made to
 the address specified by the Holder in the Notice of Conversion.

 4. No provision of this Note shall alter or impair the obligation
 of the Company, other than the conversion of the note into
 shares described in 3, which is absolute and unconditional, to
 pay the principal of, and interest on, this Note at the time, place,
 and rate, and in the coin or currency herein prescribed. This
 Note is a direct obligation of the Company.
 5. No recourse shall be had for the payment of the principal of,
 or the interest on, this Note, or for any claim based hereon, or
 otherwise in respect hereof, against any incorporator,
 shareholder, employee, officer or director, as such, past, present
 or future, of the Company or any successor corporation, whether
 by virtue of any constitution, statute or rule of law, or by the
 enforcement of any assessment or penalty or otherwise, all such
 liability being, by the acceptance hereof and as part of the
 consideration for the issue hereof, expressly waived and
 released.


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     6. The Holder of the Note, by acceptance hereof, agrees that this
     Note is being acquired for investment and that such Holder will
     not offer, sell or otherwise dispose of this Note or the Shares of
     Common Stock issuable upon conversion thereof except under
     circumstances which will not result in a violation of the Act or
     any applicable state Blue Sky or foreign laws or similar laws
     relating to the sale of securities.
     7. This Note shall be governed by and construed in accordance
     with the laws of the State of Nevada. Each of the parties
     consents to the jurisdiction of the federal courts whose districts
     encompass any part of Nevada state courts of the State of
     Nevada sitting in connection with any dispute arising under this
     Agreement and hereby waives, to the maximum extent permitted
     by law, any objection, including any objection based on forum
     non conveniens, to the bringing of any such proceeding in such
     jurisdictions.
     8. The following shall constitute an “Event of Default”:

     a. The Company shall fail to perform or observe, in any material
     respect, any other covenant, term, provision, condition,
     agreement or obligation of the Company under this Note or the
     Convertible Note Purchase Agreement between the Company
     and original Holder of this Note dated of even date herewith,
     and such failure shall continue uncured for a period of fifteen
     (15) days after written notice from the Holder of such failure; or

     b. Bankruptcy, reorganization, insolvency or liquidation
     proceedings or other proceedings for relief under any
     bankruptcy law or any law for the relief of debtors shall be
     instituted by or against the Company and, if instituted against
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     the Company, shall not be dismissed within sixty (60) days after
     such institution or the Company shall by any action or answer
     approve of, consent to, or acquiesce in any such proceedings or
     admit the material allegations of, or default in answering a
     petition filed in any such proceeding;

     Then, or at any time thereafter, and in each and every such case,
     unless such Event of Default shall have been waived in writing
     by the Holder (which waiver shall not be deemed to be a waiver
     of any subsequent default) at the option of the Holder and in the
     Holder's sole discretion, the Holder may consider this Note
     immediately due and payable, without presentment, demand,
     protest or notice of any kind, all of which are hereby expressly
     waived, anything herein or in any note or other instruments
     contained to the contrary notwithstanding, and the Holder may
     immediately enforce any and all of the Holder's rights and
     remedies provided herein or any other rights or remedies
     afforded by law. If the Company fails to make any payment of
     principal, interest or other amount coming due pursuant to the
     provisions of this Note within five (5) calendar days of the date
     due and payable, the Company shall issue common shares to the
     Holder pursuant to the conversion terms specified in section 3 of
     this agreement unless Holder wishes to not convert. Upon the
     occurrence of any Event of Default and during the continuance
     thereof, the then outstanding principal amount of this Note shall
     bear interest at a rate per annum (based on the actual number of
     days that principal is outstanding over a year of 360 days) of
     nine percent 9%) (the “Default Rate”). Additionally, upon an
     Event of Default that has not been cured in accordance with the
     terms of this Note, the Default Rate shall be retroactively
     applied to the Note from the initial issuance date through and
                                                                     EXHIBIT A
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     including the date of the Event of Default, thereby increasing the
     amount of interest due and payable to Holder (“Retroactive
     Interest”). The Retroactive Interest, however, shall not apply to
     the Holder’s Non-Dilution Rights set forth in the Agreement.
     The Default Rate shall continue to apply whether or not
     judgment shall be entered on this Note. The Default Rate is
     imposed as liquidated damages for the purpose of defraying the
     Holder’s expenses incident to the handling of delinquent
     payments, but are in addition to, and not in lieu of, the Holder’s
     exercise of any rights and remedies hereunder, under the other
     Loan Documents or under applicable law, and any fees and
     expenses of any agents or attorneys which the Holder may
     employ. In addition, the Default Rate reflects the increased
     credit risk to the Holder of carrying a loan that is in default. The
     Company agrees that the Default Rate is a reasonable forecast of
     just compensation for anticipated and actual harm incurred by
     the Holder, and that the actual harm incurred by the Holder
     cannot be estimated with certainty and without difficulty
     9. Nothing contained in this Note shall be construed as
     conferring upon the Holder the right to vote or to receive
     dividends or to consent or receive notice as a shareholder in
     respect of any meeting of shareholders or any rights whatsoever
     as a shareholder of the Company, unless and to the extent
     converted in accordance with the terms hereof.

     IN WITNESS WHEREOF, the Company has caused this
     instrument to be duly executed by an officer thereunto duly
     authorized.

     Dated: November 18th, 2019

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Now Corporation according to the conditions hereof, as of the
date written below.

Date of
Conversion*_________________________________________

Conversion Price
*___________________________________________________

Accrued
Interest______________________________________________

Signature____________________________________________
[Name]

Address:___________________________________________
____________________________________________________
*If such conversion represents the remaining principal balance
of the Note, the original Note must accompany this notice within
three business days.


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   EXHIBIT 1: Appendix

   CONVERTIBLE NOTE

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   ISSUABLE UPON CONVERSION HEREOF HAVE BEEN
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   COMMISSION OF ANY STATE OR UNDER THE
   SECURITIES ACT OF 1933, AS AMENDED (THE “ACT”).
   THE SECURITIES ARE RESTRICTED AND MAY NOT BE
   OFFERED, RESOLD, PLEDGED OR TRANSFERRED
   EXCEPT AS PERMITTED UNDER THE ACT PURSUANT
   TO AN EFFECTIVE REGISTRATION STATEMENT OR AN
   EXEMPTION FROM SUCH REGISTRATION
   REQUIREMENTS.
   THE NOW CORPORATION

   8% CONVERTIBLE PROMISSORY NOTE

   THIS CONVERTIBLE PROMISSORY NOTE is issued by The
   Now Corporation, a corporation organized and existing under
   the laws of the State of Nevada (the “Company”), and is
   designated as its 8% Convertible Note Due November 18th,
   2020

   FOR VALUE RECEIVED, the Company hereby promises to
   pay to Kent Strickler, or permitted assignees (the “Holder”), the
   principal sum of one hundred and fifty thousand dollars (US
   $150,000.00) on November 18th, 2020(the “Maturity Date”),
   and to pay interest on the principal sum outstanding in arrears on
   the Maturity Date at the rate of 8% per annum, simple interest,
                                                               EXHIBIT B
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  accruing from the date of initial issuance. Accrual of interest
  shall commence on the first business day to occur after the date
  of initial issuance and continue until payment in full of the
  principal sum has been made or duly provided for. All principal
  and accrued but unpaid interest shall be due and payable on the
  Maturity Date. If any interest payment date or the Maturity Date
  is not a business day in the State of New York, then such
  payment shall be made on the next succeeding business day. The
  Company will pay the principal of, and any accrued but unpaid
  interest due upon, this Note on the Maturity Date, by check or
  wire transfer to the person who is the registered holder of this
  Note as of the tenth day prior to the Maturity Date and addressed
  to such holder at the last address appearing on the Note Register.
  The forwarding of such check or money order shall constitute a
  payment of principal and interest hereunder and shall satisfy and
  discharge the liability for principal and interest on this Note to
  the extent of the sum represented by such check or wire transfer
  plus any amounts so deducted. In the event that the Holder
  converts the entire principal amount of the Note into shares of
  the Company’s common stock, all accrued and unpaid interest
  shall also be converted into shares of the Company’s common
  stock (“Common Stock”) at the then applicable Conversion
  Price as described below.
  This Note is subject to the following additional provisions:

  1. This Note has been issued subject to investment
  representations of the Company and may be transferred or
  exchanged only in compliance with the Securities Act of 1933,
  as amended (the “Act”), and other applicable state and foreign
  securities laws. The Holder shall deliver written notice to the
  Company of any proposed transfer of this Note. In the event of
                                                               EXHIBIT B
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     any proposed transfer of this Note, the Company may require,
     prior to issuance of a new Note in the name of such other
     person, that it receive reasonable transfer documentation
     including legal opinions that the issuance of the Note in such
     other name does not and will not cause a violation of the Act or
     any applicable state or foreign securities laws. Prior to due
     presentment for transfer of this Note, the Company and any
     agent of the Company may treat the person in whose name this
     Note is duly registered on the Company’ Note Register as the
     owner hereof for the purpose of receiving payment as herein
     provided and for all other purposes, whether or not this Note be
     overdue, and neither the Company nor any such agent shall be
     affected by notice to the contrary.
     2. The Holder of this Note is entitled, at its option, to convert at
     any time commencing on the Maturity Date hereof the entire
     principal amount of this Note and all accrued interest thereon
     into shares of Common Stock of the Company (“Conversion
     Shares”) at a conversion price for each share of Common Stock
     (“Conversion Price”) at a price per share equal to 50% of the
     lowest posted ask price of NWPN common shares in the
     preceding 3 trading days. The Holder can only convert the Note
     so that the amount of the Holder’s beneficial ownership never
     exceeds 9.9% of the total issued and outstanding common
     shares.

     3. Conversion shall be effectuated by surrendering this Note to
     the Company (if such Conversion will convert all outstanding
     principal) together with the form of conversion notice attached
     hereto as Exhibit A (the “Notice of Conversion”), executed by
     the Holder of this Note evidencing such Holder's intention to
     convert this Note or a specified portion (as above provided)
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 hereof, and accompanied, if required by the Company, by proper
 assignment hereof in blank. Interest accrued or accruing from
 the date of issuance to the date of conversion shall be paid as set
 forth above. No fraction of a share or scrip representing a
 fraction of a share will be issued on conversion, but the number
 of shares issuable shall be rounded to the nearest whole share.
 The date on which Notice of Conversion is given (the
 “Conversion Date”) shall be deemed to be the date on which the
 Holder submits to the Company, via commercially acceptable
 means, a Notice of Conversion of form attached hereto as
 Exhibit A. Delivery of shares upon conversion shall be made to
 the address specified by the Holder in the Notice of Conversion.

 4. No provision of this Note shall alter or impair the obligation
 of the Company, other than the conversion of the note into
 shares described in 3, which is absolute and unconditional, to
 pay the principal of, and interest on, this Note at the time, place,
 and rate, and in the coin or currency herein prescribed. This
 Note is a direct obligation of the Company.
 5. No recourse shall be had for the payment of the principal of,
 or the interest on, this Note, or for any claim based hereon, or
 otherwise in respect hereof, against any incorporator,
 shareholder, employee, officer or director, as such, past, present
 or future, of the Company or any successor corporation, whether
 by virtue of any constitution, statute or rule of law, or by the
 enforcement of any assessment or penalty or otherwise, all such
 liability being, by the acceptance hereof and as part of the
 consideration for the issue hereof, expressly waived and
 released.


kw                                                              EXHIBIT B
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     6. The Holder of the Note, by acceptance hereof, agrees that this
     Note is being acquired for investment and that such Holder will
     not offer, sell or otherwise dispose of this Note or the Shares of
     Common Stock issuable upon conversion thereof except under
     circumstances which will not result in a violation of the Act or
     any applicable state Blue Sky or foreign laws or similar laws
     relating to the sale of securities.
     7. This Note shall be governed by and construed in accordance
     with the laws of the State of Nevada. Each of the parties
     consents to the jurisdiction of the federal courts whose districts
     encompass any part of Nevada state courts of the State of
     Nevada sitting in connection with any dispute arising under this
     Agreement and hereby waives, to the maximum extent permitted
     by law, any objection, including any objection based on forum
     non conveniens, to the bringing of any such proceeding in such
     jurisdictions.
     8. The following shall constitute an “Event of Default”:

     a. The Company shall fail to perform or observe, in any material
     respect, any other covenant, term, provision, condition,
     agreement or obligation of the Company under this Note or the
     Convertible Note Purchase Agreement between the Company
     and original Holder of this Note dated of even date herewith,
     and such failure shall continue uncured for a period of fifteen
     (15) days after written notice from the Holder of such failure; or

     b. Bankruptcy, reorganization, insolvency or liquidation
     proceedings or other proceedings for relief under any
     bankruptcy law or any law for the relief of debtors shall be
     instituted by or against the Company and, if instituted against
                                                                    EXHIBIT B
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     the Company, shall not be dismissed within sixty (60) days after
     such institution or the Company shall by any action or answer
     approve of, consent to, or acquiesce in any such proceedings or
     admit the material allegations of, or default in answering a
     petition filed in any such proceeding;

     Then, or at any time thereafter, and in each and every such case,
     unless such Event of Default shall have been waived in writing
     by the Holder (which waiver shall not be deemed to be a waiver
     of any subsequent default) at the option of the Holder and in the
     Holder's sole discretion, the Holder may consider this Note
     immediately due and payable, without presentment, demand,
     protest or notice of any kind, all of which are hereby expressly
     waived, anything herein or in any note or other instruments
     contained to the contrary notwithstanding, and the Holder may
     immediately enforce any and all of the Holder's rights and
     remedies provided herein or any other rights or remedies
     afforded by law. If the Company fails to make any payment of
     principal, interest or other amount coming due pursuant to the
     provisions of this Note within five (5) calendar days of the date
     due and payable, the Company shall issue common shares to the
     Holder pursuant to the conversion terms specified in section 3 of
     this agreement unless Holder wishes to not convert. Upon the
     occurrence of any Event of Default and during the continuance
     thereof, the then outstanding principal amount of this Note shall
     bear interest at a rate per annum (based on the actual number of
     days that principal is outstanding over a year of 360 days) of
     nine percent 9%) (the “Default Rate”). Additionally, upon an
     Event of Default that has not been cured in accordance with the
     terms of this Note, the Default Rate shall be retroactively
     applied to the Note from the initial issuance date through and
                                                                   EXHIBIT B
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     including the date of the Event of Default, thereby increasing the
     amount of interest due and payable to Holder (“Retroactive
     Interest”). The Retroactive Interest, however, shall not apply to
     the Holder’s Non-Dilution Rights set forth in the Agreement.
     The Default Rate shall continue to apply whether or not
     judgment shall be entered on this Note. The Default Rate is
     imposed as liquidated damages for the purpose of defraying the
     Holder’s expenses incident to the handling of delinquent
     payments, but are in addition to, and not in lieu of, the Holder’s
     exercise of any rights and remedies hereunder, under the other
     Loan Documents or under applicable law, and any fees and
     expenses of any agents or attorneys which the Holder may
     employ. In addition, the Default Rate reflects the increased
     credit risk to the Holder of carrying a loan that is in default. The
     Company agrees that the Default Rate is a reasonable forecast of
     just compensation for anticipated and actual harm incurred by
     the Holder, and that the actual harm incurred by the Holder
     cannot be estimated with certainty and without difficulty
     9. Nothing contained in this Note shall be construed as
     conferring upon the Holder the right to vote or to receive
     dividends or to consent or receive notice as a shareholder in
     respect of any meeting of shareholders or any rights whatsoever
     as a shareholder of the Company, unless and to the extent
     converted in accordance with the terms hereof.

     IN WITNESS WHEREOF, the Company has caused this
     instrument to be duly executed by an officer thereunto duly
     authorized.
     Dated: November 18th, 2019

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Now Corporation according to the conditions hereof, as of the
date written below.

Date of
Conversion*_________________________________________

Conversion Price
*___________________________________________________

Accrued
Interest______________________________________________

Signature____________________________________________
[Name]

Address:___________________________________________
____________________________________________________
*If such conversion represents the remaining principal balance
of the Note, the original Note must accompany this notice within
three business days.


   ●




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                                    VESSEL BILL OF SALE




                                           VESSEL DESCRIPTION
          Vessel Name              Model Year                  Manufacturer               Hull Identification Number


     The Luree Lynn              1983
                                                     Tolly Craft                        TLY430320583


                                           SELLER INFORMATION
    By signature below, I as seller certify the above boat information is true and correct. Seller releases all
    rights, title and interest in the above described vessel to the buyer listed below.




Owner Printed Name                                                                                        Date

    Kent Strickler                                                                              11-18-2019

Co- Owner Printed Name                    Co-Owner Signature                                              Date



Co- Owner Printed Name                    Co-Owner Signature                                              Date




I                                          BUYER INFORMATION

New Owner Printed Name
      The Now Corporation C/0 Ken Williams CEO

New Owner Signature

    ,(uuid/2. Wi//iant..1
Address                                                City                             State          Zip
PO Box 2461                                       Palm Beach                       FL             33480
New Lienholder


Address                                                                                 State          Zip




                                                                                                              EXHIBIT C
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